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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, NY 10007


                                                      September 4, 2020
By ECF and Federal Express
Honorable Lorna G. Schofield
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

              Re: New York Legal Assistance Group v. DeVos, et al., No. 20 Civ. 1414 (LGS)

Dear Judge Schofield:

        Pursuant to the Court’s June 11, 2020 Order, the Government has sent, via Federal
Express, a CD-ROM containing the administrative record to the Court. Defendants’ certification
of the records and an amended index of all of the Bates-numbered pages included in the
production are being filed as exhibits to this letter, and are also included on the CD-ROM.

       I thank the Court for its consideration of this matter.

                                                    Respectfully,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney for the
                                                    Southern District of New York


                                              By: __________________________
                                                  Jennifer C. Simon
                                                  Assistant United States Attorney
                                                  86 Chambers Street, Third Floor
                                                  New York, New York 10007
                                                  Tel.: (212) 637-2746
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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

  NEW YORK LEGAL ASSISTANCE GROUP, )
         Plaintiff,                         )
                                            )                             Case No. 20 Civ. 1414
                -v-                         )
                                            )                             AMENDED
                                            )                             ADMINISTRATIVE RECORD
                                            )                             INDEX
  ELISABETH DeVOS, in her official capacity )
  as Secretary of Education,                )
                                            )
         and                                )
                                            )
  UNITED STATES DEPARTMENT OF               )
   EDUCATION,                               )
                                            )
         Defendants.                        )
  __________________________________________)


                                  Department of Education
                               34 C.F.R. Parts 668, 682 and 685
     Student Assistance General Provisions, Federal Family Education Loan Program and
                        William D. Ford Federal Direct Loan Program
                     Docket ID ED–2018–OPE–0027, September 23, 2019

                                     34 C.F.R. Parts 668, 682, 685
                                 Negotiated Rulemaking Committees;
                                Negotiator Nominations and Schedule
                                  of Committee Meetings—Borrower
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                                       and Gainful Employment
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SECTION H - BORROWER DEFENSE: OTHER MATERIALS

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SECTION I - BORROWER DEFENSE: PUBLIC COMMENTS RECEIVED REGARDING
NOTICE OF INTENT TO HOLD NEGOTIATED RULEMAKING

     Public Comments Regarding June 16, 2017 Notice of Intent to Hold
     Negotiated Rulemaking – Comments are publicly available at
     https://www.regulations.gov/docket?D=ED-2017-OPE-0076

SECTION J - BORROWER DEFENSE: PUBLIC COMMENTS RECEIVED ON NPRM

     Public Comments on July 31, 2018 NPRM – Comments are publicly available
     at https://www.regulations.gov/docket?D=ED-2018-OPE-0027

SECTION K - BORROWER DEFENSE: 2016 FINAL RULE AND DELAYS

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                      Exhibit B
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                        I]MTED STATES DISTRICT COURT
                       SOUTIIERN DISTRICT OF I\TEW YORK

NEW YORK LEGAL ASSISTAIICE                 GROI'P, )
     Plaintiffn                                           )
                                                          )     Case No. 20   Civ.l4l4
                                                          )
                                                          )
ELISABETH DeVOS, in her official capacity                 )     ADMIMSTRATTVE
as Secretary of Education,                                )     RECORI)
                                                          )
         and                                              )     AMENDEI)
                                                          )     CERTIHCATION
I'I\IITED STATES DEPARTMENT OF                            )
 EDUCATION,                                               )
                                                          )
         Defendants.                                      )
                                                     --J

                                          RECORI)

         I, Brian Siegel, pursuant to the provisions of 20 U.S.C . 5 3472 and the authority

detegated to me from the Secretary and the General Counsel       ofthe U.S. Departnent of

Education, hereby certifu that the attached pages AR-A-000001 through AR-A-0000207,

AR-B-0000001 through AR-B-0000107, AR-C-0000001 through AR-C-0000405, AR-D-

000000   I through AR-D-000   A7 92,   AR-E-000000   I   through AR-E-0000995' AR-F-

000000   I through AR-F-0001 237, AF!-G-0000001 through AR-G-0003369, AR-H-

0000001 through AR-H-000L2LA,AR-I-0000001 (incorporating by reference public

comments for Docket ED-20fi-APE-0076), AR-J-0000001 (incorporating by reference

public comments for Docket ED-2018-OPE-0027 ), and AR-K-0000001 through AR'K-

0000203 as identified onthe Administrative Record Index filed with this Certification,

constitute true copies ofthe administrative record underlying the Departuent      of
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Blncation's decisiou concenring its final rule issued on September z3r}Alg,at 84 Fed.

Reg. a9,788.

       Itlade o,n this   fdrrtof   Sefiember, 202A.




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                                               Dryuty Assimnt Gffial Cornsel
                                               Divisisn of Postsffioodary E<Iucation
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